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 9                                  UNITED STATES DISTRICT COURT
10                                 EASTERN DISTRICT OF CALIFORNIA
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12    MARTHA OCHOA, individually, and on behalf            Case No. 1:24-cv-00151-JLT-BAM
      of other members of the general public similarly
13    situated and on behalf of other aggrieved            [PROPOSED] ORDER GRANTING
      employees pursuant to the California Private         STIPULATED REQUEST TO STAY
14    Attorneys General Act,                               PLAINTIFF MARTHA OCHOA’S
                                                           INDIVIDUAL CLAIMS AND DISMISS
15                    Plaintiff,                           CLASS AND PAGA CLAIMS WITHOUT
                                                           PREJUDICE
16           vs.
                                                 Judge:      Hon. Jennifer L. Thurston
17    FRED LOYA INSURANCE AGENCY, INC., a Courtroom: 4 (Fresno)
      New Mexico corporation; and DOES 1 through
18    100, inclusive,                            Complaint Filed:     November 29, 2023
                                                 Removed to Fed. Ct.: February 2, 2024
19                    Defendants.
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21           Pursuant to the Stipulation submitted by Plaintiff Martha Ochoa (“Plaintiff”) and

22    Defendant Fred Loya Insurance Agency, Inc. (“Defendant” or the “Company”) (collectively, the

23    “Parties”), and good cause appearing therefore, THE COURT HEREBY ORDERS as follows:

24          1.       Plaintiff’s individual claims in this action are hereby stayed;
25          2.       Defendant’s motion to compel arbitration (Dkt. No. 28) is hereby withdrawn
26   without prejudice to refiling the motion, as stipulated by the Parties, and nothing in the Parties’
27   Stipulation or the stay of proceedings shall amount to a waiver by Defendant of any of the
28   arguments in that motion, its right to enforce the arbitration agreement, and/or its right to re-file or

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 1   reinstate the motion to compel arbitration in the event that the settlement is not finalized and/or
 2   approved by the Court in the first-filed Mosqueda action, in which case the Parties in this action
 3   shall return to the status quo existing as of the time their Stipulation was executed;
 4          3.       All of the class and PAGA claims pled on behalf of individuals other than Plaintiff
 5   in this action are hereby dismissed without prejudice pursuant to Rule 41(a)(1)(A)(ii) of the
 6   Federal Rules of Civil Procedure; and
 7          4.       On or before October 11, 2024, the Parties shall file a joint status report regarding
 8   the pending Mosqueda proceeding, the Parties’ settlement, the stay of Plaintiff’s individual claims,
 9   and the potential re-filing of Defendant’s motion to compel arbitration. Therein, the Parties shall
10   attempt to propose a joint schedule for any anticipated further proceedings.
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     IT IS SO ORDERED.
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14       Dated:     June 13, 2024
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      Case No. 1:24-cv-00151-JLT-BAM                    -2-                [PROPOSED] ORDER DENYING
                                                                       PLAINTIFF’S MOTION TO REMAND
